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FOIA Summons
1/13

 

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Jason Leopold and Buzzfeed Inc.

 

Plaintiff

V',

Civil Action No. 1:19-cv-00957
U.S. Department of Justice, et. al.

 

wwe ever em

Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) .
U.S. Department of Justice

950 Pennsylvania Ave, NW
Washington, DC 20530

A lawsuit has been filed against you.

Within 30 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of

Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose name and

address are: Matthew V. Topic

Loevy & Loevy
311N. Aberdeen St., 3rd FI.
Chicago, IL 60607

If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date: 04/05/2019 /s/ Simone Bledsoe

 

Signature of Clerk or Deputy Clerk

 
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Civil Action No. 1:19-cv-00957

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any) U. Si De, pt. at dustce.

was received by me on (date) =f /T/ q

1 I personally served the summons on the individual at (place)

 

on (date) 5 or

 

(1 I left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

C1 Iserved the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

on (date) ; or

 

I returned the summons unexecuted because
zm Other (specify): sored We_ = OMMONS VW USPS Gated Mes | Behe
Roce’ pt Resvested, Avtcle No. 701B 1530 0000 4325 S367

 

My fees are $ for travel and $ for services, for a total of $ 0.00 .

I declare under penalty of perjury that this information is true.

ae a Sih Dg Las —
Pde Be Bsthe poos lyal

Pr inted Kanye a A fitle

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Deion, Zi EL?

Server’s address

 

Additional information regarding attempted service, etc:
Case 1:19-cv-00810-RBW Document 48 Filed 05/24/19 Page 3 of 3
%

™@ Complete items 1, 2, and 3.

@ Print your name and address on the reverse
so that we can return the card to you.

@ Attach this card to the back of the mailpiece,
or on the front if space permits.

A. Signature
O Agent

Xx a CO Addressee

B. Received by (Printed “read, f. Date of Delivery

 

1. Article Addressed to:

U.S Dept of Dostce
950 Penasy |vensa Ave uD

Las intron ; DU 40530
CAMARA UN

9590 9402 3277 7196 8406 79

D. Is delivery address different from-item 1? [1 Yes

If YES, enter delivery adcipta laergub 74 Mo

 

 

 

4

 

2. Article Number (Transfer from service label)

7018 18630 OOOO 4325 83h?
: PS Form 3811, July 2015 PSN 7530-02-000-9053

 

3. Service Type
O Adult Signature
O Adult Signature Restricted Delivery

O Priority Mail Express®
O Registered Mail™
O Registered Mail Restricted

Certified Mail® Delivery
Certified Mail Restricted Delivery © Return Receipt for
O Collect on Delivery Merchandise

O Collect on Delivery Restricted Delivery O Signature Confirmation™
Mail O Signature Confirmation

‘ed
‘ed Mail Restricted Delivery Restricted Delivery
: $500)

 

re Domestic Return Receipt
